Case 1:20-cr-00081-SPW Document 23 Filed 10/19/20 Page 1 of 4

 

IN THE UNITED STATES DISTRICT COURT FILED
FOR THE DISTRICT OF MONTANA acT 19 2020
BILLINGS DIVISION

Clerk, U S District Court
District Of Montana

Billings
UNITED STATES OF AMERICA, CR 20-81-BLG-SPW
Plaintiff,
. ORDER SETTING
vs. SENTENCING
TANYA SMITH,
Defendant.

 

 

Defendant entered her plea of guilty before U.S. Magistrate Judge Timothy
J. Cavan in open court on October 1, 2020. United States Magistrate Judge
Timothy J. Cavan entered Findings and Recommendation in this matter on October
1, 2020 (Doc. 22). No objections having been filed within fourteen days thereof,

IT IS HEREBY ORDERED that Judge Cavan’s Findings and
Recommendations (Doc. 22) are ADOPTED IN FULL;

Therefore,

IT IS HEREBY ORDERED that,

1. Sentencing is set for Wednesday, March 3, 2021 at 9:30 a.m., in the

James F. Battin Courthouse, 2601 Second Avenue North, Billings, Montana.
Case 1:20-cr-00081-SPW Document 23 Filed 10/19/20 Page 2 of 4

2. The United States Probation Office shall conduct a presentence
investigation and prepare a presentence report. Fed. R. Crim. P. 32(c), (d); 18
U.S.C. § 3552(a).

3. The probation officer shall disclose the completed report, except for
recommendations of the probation officer as follows: two copies to counsel for
Defendant, and one copy to counsel for the government on or before January 19,
2021. The probation officer shall not disclose any recommendation made or to be
made to the Court.

4. If restitution is mandatory, the probation officer shall discuss a
payment plan with Defendant and shall make recommendations to the Court
concerning interest and a payment schedule.

5. Counsel shall attempt in good faith to resolve disputes over any
material in the presentence report. Unresolved objections to be relied upon at
sentencing shall be presented to the probation officer on or before January 28,
2021. U.S.S.G. § 6A1.2. Ifthere is a dispute over any material in the presentence
report, counsel shall meet with the probation officer and attempt to resolve disputes
informally by diligent good faith effort. Any requests for extensions of time to
present objections to the probation officer must be granted by the Court.

Extensions will not be granted absent compelling reasons. Any unresolved
Case 1:20-cr-00081-SPW Document 23 Filed 10/19/20 Page 3 of 4

objections are expected to be included in the pre-sentence report, not in a
sentencing memorandum.

6. The presentence report, in final form, including any unresolved
objections, shall be delivered to the Court and the parties on or before February
11, 2020.

7. Sentencing memoranda and supporting documents addressing all
relevant sentencing issues shall be filed on or before February 18, 2021. Absent
good cause shown, sentencing memoranda and supporting documents filed after
February 18, 2021 will not be considered in addressing sentencing issues. Failure

to timely file sentencing memoranda may result in imposition of sanctions against

counsel.

8. Responses to sentencing memoranda shall be filed on or before
February 25, 2021.

9. Reply briefs will not be accepted for filing in sentencing matters.

10. The Court will resolve objections included in the Addendum to the
presentence report at the sentencing hearing in accordance with U.S.S.G. § 6A1.3.

11. All parties that intend to have witnesses testify at sentencing shall give
notice to this Court ten (10) days prior to the sentencing date.

12. Defendant is released under previously set conditions pending

sentencing.
Case 1:20-cr-00081-SPW Document 23 Filed 10/19/20 Page 4 of 4

The clerk shall promptly notify counsel and the probation office of the entry

of this Order.

DATED this 19th day of October, 2020.

Liner £2 Leet

SUSAN P. WATTERS
United States District Judge
